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Ex. | to Exhibit A ~
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Ben Sternberg

From: Ben Sternberg

Sent: Tuesday, September 24, 2019 6:53 PM

To: ‘copyrightclaims@secureserver.net'

Ce: ‘copyrightclaims@godaddy.com'

Subject: Copyright Claim on Behalf of Julia Allison Baugher
Attachments: Notice of Infringement of Julia Allison Baugher's Copyrights.pdf
To Whom It May Concern:

Please find attached a DMCA takedown notification on behalf of Julia Allison Baugher. Please do not hesitate
to contact me if you have any questions.

Best,

Ben

Benjamin Sternberg

Lutzker & Lutzker LLP

1233 20th Street, NW Suite 703
Washington, DC 20036

Tel: 202-408-7600 Extension 6
Fax 202-408-7677

Email: ben@lutzker.com

Web: www.lutzker.com

Check out our new website - https://www.lutzker.com/

To ensure compliance with requirements imposed by the IRS, we inform you that any tax advice contained in this communication (including any attachments) was not intended or
written to be used, and cannot be used, for the purpose of (1) avoiding tax-related penalties under the Intemal Revenue Code or (2) promoting, marketing, or recommending to
another party any tax-related matter addressed herein. The information contained in this email message is privileged and confidential and is intended only for the personal use of
the individual or entity named above and others who have been specifically authorized to receive it. If you are not the intended recipient, you are hereby notified that any
dissemination, distribution or copying of this transmission is strictly prohibited. if you have received this transmission in error, please notify the sender immediately by replying to
this email and delete the original message and any attachments from your system. Thank you for your cooperation.

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Lutzker 4@ Lutzker LLP

1233 20th Street, NW
Suite 703
Washington, DC 20036

tel 202.408.7600
fax 202,408,7677

www.lutzkercom

Via Email and FedEx

September 24, 2019

GoDaddy.com, LLC

14455 N. Hayden Rd.

Suite 219

Scottsdale, AZ 85260

copyrightclaims@godaddy.com; copyrightclaims@secureserver.net

ATTN: Copyright Agent
Re: Notice of Copyright Infringements

Dear Copyright Agent:

We write on behalf of Ms. Julia Allison Baugher ("Copyright Owner"), the
author and owner of all copyright rights in a variety of expressive works, including a book
proposal entitled Experiments in Happiness and a series of photographs that were recently
captured in California and Nevada. We hereby provide notice of copyright infringements
pursuant to the Digital Millennium Copyright Act (the "Act") and GoDaddy.com, LLC’s

Copyright Policy.

Copyright Owner is the owner of all copyright rights in, inter alia, the following
works (the "Works"):

1. Experiments in Happiness;

2. Julia Selfie With Dog (U.S. Copyright Registration No. VAu 1-366-016);

3. Julia Selfie 1 (U.S. Copyright Registration No. VAu 1-366-016);

4, Julia Selfie Blue Shirt (U.S. Copyright Registration No. VAu 1-366-016);

5. Blue Car and Ocean View (U.S. Copyright Registration No. VAu 1-366-016);

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6. Julia Selfie 2 (U.S, Copyright Registration No. VAu 1-366-016);

7. Julia Selfie 3 (U.S. Copyright Registration No. VAu 1-366-016);

8, Julia Selfie 4 (U.S. Copyright Registration No. VAu 1-366-016);

9, Rainbow Bench (U.S. Copyright Registration No. VAu 1-366-016);

10. Julia Selfie 6 (U.S. Copyright Registration No. VAu 1-366-016);

11. Plants (U.S. Copyright Registration No, VAu 1-366-016);

12. Julia Selfie 7 (U.S, Copyright Registration No. VAu 1-366-016);

13. Julia and Friend Selfie 2 (U.S. Copyright Registration No. VAu 1-366-016);
14. Paint Palette (U.S, Copyright Registration No. VAu 1-366-016);

15. Artwork and Paint Supplies 2 (U.S. Copyright Registration No. VAu 1-366-016);
16. Julia Selfie 8 (U.S. Copyright Registration No. VAu 1-366-016);

17. Julia and Alex Selfie 6 (U.S. Copyright Registration No. VAu 1-366-016);
18. Julia and Friend Selfie 3 (U.S. Copyright Registration No. VAu 1-366-016);
19, Redand Purple Bus (U.S. Copyright Registration No. VAu 1-366-016);

20. Julia Selfie 10 (U.S. Copyright Registration No. VAu 1-366-016);

21. Julia Selfie 12 (U.S. Copyright Registration No. VAu 1-366-016);

22. Julia Kiss; and

23. Julia Glasses.

It has come to Copyright Owner's attention that a website which is hosted by your
service is providing access to and displaying materials that infringe Copyright Owner's copyright
rights in the Works. The following is a list of the URLs at which the Works are currently being

infringed:
1. https://rebloggingdonk.com/wp-content/uploads/2014/09/JuliaA llisonproposal;!

2. https://rebloggingdonk.com/wp-content/uploads/2019/09/balibimbo4-
€1568184424878;"

! The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Experiments in Happiness. ,

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3, https://rebloggingdonk.com/wp-content/uploads/2019/09/balibimbol-
©1568184354560;3

4, https://rebloggingdonk.com/wp-content/uploads/2019/09/bidness-lady-
€1568665868930:4

5. https://rebloggingdonk.com/wp-content/uploads/2019/09/verucal -
1568741612544, png?time=1569094660;°

6. https://rebloggingdonk.com/wp-content/uploads/2019/09/veruca3-
€1568741879677;°

7. https://rebloggingdonk.com/wp-content/uploads/2019/09/vacay2-
€1569041810636.png7time=1569095399;"

8, https://rebloggingdonk.com/wp-content/uploads/2019/09/vacay1-
€1569041972744:8

9, https://rebloggingdonk.com/wp-content/uploads/2019/09/sutro4-
€1568498422693;°

10. https://rebloggingdonk.com/wp-content/uploads/2019/09/sutrodonk1-
©1568498181899.pne?time=1569094660;'°

11. _https://rebloggingdonk,com/wp-content/uploads/2019/09/veruca4; |!
12. _hitps://rebloggingdonk.com/wp-content/uploads/2019/09/sutro6-600x593;)*

2 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie With Dog.

3 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie J.

4 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie Blue Shirt,

5 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Blue Car and Ocean View.

§ The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie 2.

7 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie 3.

§ The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfle 4

? The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Rainbow Bench,

10 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie 6.

1! The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work

Plants,

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13. __ hitps://rebloggingdonk.com/wp-content/uploads/2019/09/strippersinlove-
©1568664768944;3

14. _ https://rebloggingdonk.com/wp-content/uploads/2019/09/wonderland5-
€1567813979898;'4

15. _ https://rebloggingdonk.com/wp-content/uploads/2019/09/wonderland4-
€1567814030311;!5

16. https://rebloggingdonk.com/wp-content/uploads/2019/09/wonderland3-
e1567813911926;'°

17. https://rebloggingdonk.com/wp-content/uploads/2019/09/wonderland1;!”

18. — https://rebloggingdonk.com/wp-content/uploads/2019/09/moron1-
€1568507391726;!8

19. _ https://rebloggingdonk.com/wp-content/uploads/2019/09/metaho1l -
€1568057097297;!9

20. __ https://rebloggingdonk.com/wp-content/uploads/2019/09/tongue-depressor-

€1568935135400-”°

21. — https://reblogginedonk.com/wp-content/uploads/2019/09/prettypic-
€1568665421115;7!

22. _ https://rebloggingdonk.com/wp-content/uploads/2019/09/metaho3-
1568057003393; and

2 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia Selfie 7.

3 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work
Julia and Friend Selfie 2.

4 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work

Paint Palette.
5 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work

Artwork and Paint Supplies 2.
16 The photograph displayed at this URL infringes Copyright Owner's copyright rights in the above-mentioned work

Julia Selfie 8.
'7 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work

Julia and Alex Selfie 6.
18 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work

Julia and Friend Selfie 3.
'9 The photograph displayed at this URL infringes Copyright Owner's copyright rights in the above-mentioned work

Red and Purple Bus,
20 The photograph displayed at this URL infringes Copyright Owner’s copyright rights in the above-mentioned work

Julia Selfie 10.
2\ The photograph displayed at this URL infringes Copyright Owner's copyright rights in the above-mentioned work

Julia Selfie 12.

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23, https://rebloggingdonk.com/wp-content/uploads/2019/09/summerofdrugs2-
€1567551500720,73

We have a good faith belief that the use of the Works in the manner complained
of in this letter is not authorized by Copyright Owner, any agent of Copyright Owner, or any
applicable law. Further, we represent that the information in this notification is accurate and
swear under penalty of perjury that we are authorized to act on behalf of Copyright Owner with
respect to the subject matter of this letter.

We, therefore, request that you remove or disable access to the Works as set forth
in Section 512(c)(1)(C) of the Act, Please contact the undersigned no later than one week from
the date of this letter to confirm that the infringing materials have been removed or access
disabled. The undersigned may be contacted at the address, telephone number, and email

address set forth below:

Name: Benjamin Sternberg
Address: 1233 20" Street N.W., Washington, D.C. 20036
Telephone: (202) 408-7600, Extension 6

Email: ben@lutzker.com

22 The photograph displayed at this URL infringes Copyright Owner's copyright rights in the above-mentioned work

Julia Kiss.
2 The photograph displayed at this hyperlink infringes Copyright Owner’s copyright rights in the above-mentioned

work Julia Glasses.

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Very truly yours,

By: Cries Senkg

Benjamin Sternberg, Esq.

LUTZKER & LUTZKER LLP
1233 20" Street, NW, Suite 703
Washington, DC 20036

Tel, 202-408-7600

Fax. 202-408-7677

Email: ben@lutzker.com

ATTORNEY FOR JULIA ALLISON
BAUGHER

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Ben Sternberg

From:
Sent:
To:
Subject:

Follow Up Flag:
Flag Status:

copyrightclaims@secureserver.net

Friday, September 27, 2019 10:26 AM

Ben Sternberg

Copyright Claim on Behalf of Julia Allison Baugher - [Incident ID: 40045021]

Follow up
Flagged

Here's the resolution to your
inquiry.

Fe EET
[SipportsiniiRepone = oe
In reference to REBLOGGINGDONK.COM:

Dear Sir or Madam,

Thank you for contacting the Wild West Domains Copyright Claims
Department. We are committed to assisting intellectual property owners in

taking action against IP infringement.

The content in question has been removed by the owner of the website. As such,
we have closed this claim.

If you feel that there is still a case of copyright infringement, please submit a
new Copyright Complaint with updated details.

Let us know if you have any further questions.
Kindest Regards,

Chris

Copyright Department

Wild West Domains
CopyrightClaims@WildWestDomains.com
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If you need additional help, please reply to this email and reference
[Incident 1D: 40045021].

2950451063 ~

